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                            UNITED STATES DISTRICT COURT
                            OF THE DISTRICT OF COLUMBIA

 CARL BARNES, et al.,

 Plaintiffs,
                                                 Civil Action No:       06-0315 (RCL)
 v.

 THE DISTRICT OF COLUMBIA,

 Defendant.

            MEMORANDUM OF POINTS AND AUTHORITIES
                   IN SUPPORT OF THE PARTIES’
JOINT MOTION FOR PRELIMINARY ORDER OF APPROVAL AND SETTLEMENT

       The parties, by and through undersigned counsel, respectfully submit this Memorandum

of Points and Authorities in Support of their Joint Motion for Preliminary Approval and

Settlement, pursuant to Fed. R. Civ. P. 7(b) and 23(e). The terms of the parties’ proposed class

settlement are set forth in a Settlement Agreement dated November 1, 2013 (the “Settlement

Agreement”), attached hereto.

       By this motion, for reasons explained below, the parties also move for vacation of the

Court’s Order decertifying special damages as class damages, and to remove Carl Barnes as a

class representative and add Tyree Speight and Myra Diggs as class representatives.

                                 Introduction and Background

       As the parties have indicated previously, they have reached an agreement to settle all

outstanding issues in this matter. The proposed settlement resulted from good faith, arm’s-length

negotiations among experienced counsel for the parties. Upon final approval by the Court, this

settlement will resolve the liability for damages of the District of Columbia (the “District”)

regarding plaintiffs’ claims.
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        The settlement represents a fair and reasonable compromise. The undersigned counsel for

the classes strongly believe that the proposed settlement is fair, reasonable and in the best interest

of the classes. Before addressing the substance of the proposed settlement, and why it should be

preliminarily approved, the parties first address the two other issues on which an order is sought

by this motion.



Removal of Carl Barnes, and addition of Tyree Speight and Myra Diggs, as Named Plaintiffs.

        Because Carl Barnes did not, in fact, participate as a Named Plaintiff and is now

deceased, and because Tyree Speight and Myra Diggs were lead class witnesses in the trial on

liability, plaintiffs move to dismiss Carl Barnes without prejudice as a Named Plaintiff (meaning

that his estate will still be a class member) and to add Tyree Speight and Myra Diggs as Named

Plaintiffs. This is relevant because the settlement provides somewhat greater compensation to the

Named Plaintiffs for their work in support of the case.



Vacation of Order decertifying special damages.

        As discussed above, and reflected in the attached Settlement Agreement, the parties also

seek to vacate the Court’s Order decertifying special damages (Dkt. No. 328; Dec. 7, 2011), to

more efficiently resolve the outstanding claims and broaden the settlement. This is a critical

component of the settlement because the District cannot realistically resolve class members’

claims if those who remain in the class would be able to collect their class settlement but still

pursue individual special damages. Vacation of the decertification order would return the case to

its prior status, in which all issues in the case were certified for class treatment.




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       The remainder of this Memorandum addresses why the settlement terms should be

preliminarily approved. The principal terms of the settlement include:

   •   Each Strip Search Class Member who files a valid claim shall receive $1,000;

   •   Each Over-Detention Class Member who files a valid claim shall receive $370 for the

       first day and $250 for each day thereafter;

   •   Each claim shall be subject to a review process to determine whether the claimant

       qualifies as a class member, and, if so, what s/he is entitled to receive under the terms of

       the settlement;

   •   The District will pay $2.9 Million in class member claims and, if the total approved

       claims exceed that amount, the claims shall be proportionally adjusted. Any funds not

       distributed to settling class members will revert to the District of Columbia General Fund.

   •   If the total validated claims exceed the $2.9 Million fund, individual Class Member

       payments will be adjusted proportionately so that the total Class Member payout does not

       exceed $2.9 Million.

   •   The District will pay $75,000 to the Named Plaintiffs;

   •   The District will pay up to $250,000 for class administration;

   •   The District will not oppose an application by class counsel for $2,000,000 in attorney’s

       fees and up to $425,000 in costs.

   •   The District will pay $475,000 to be used for improvements in inmate processing at the

       Department of Corrections.

   •   Class Members will release the District from liability for the alleged conduct during the

       Class Period.




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     •   For the purposes of the proposed settlement, the Class Period extends from September 1,

         2005, to July 31, 2013.

         The settlement is subject to final court approval after notice to the class and class

members’ opportunity to opt out or object. No hearing is required on this motion from the

parties’ perspective unless the Court has questions it would like addressed. Should the Court

desire a hearing, plaintiffs request that Mr. Litt participate telephonically.

         The parties have also submitted a proposed Order of Preliminary Approval of the

settlement, along with the Settlement Agreement, the Proof of Claim and Release Form, and the

Class Notice. The Parties will file a proposed Final Order of Approval—including any proposed

responses to any objections that may be filed—at least 15 days before the final approval hearing.

         The proposed Preliminary Approval Order assumes that it will be signed by or around

November 8, 2013, and sets dates for various activities on that assumption. Should the order be

signed later than the week ending November 8, 2013, the dates set in the proposed order will

need to be adjusted accordingly.

                                              Argument

I.       THE COURT SHOULD PRELIMINARILY APPROVE THE SETTLEMENT.

         “Preliminary approval of a proposed settlement to a class action lies within the sound

discretion of the court.” Richardson v. L’Oreal USA, Inc., ___ F.Supp.2d ___, 2013 WL

3216061, *2 (D.D.C. Jun. 27, 2013) (quoting In re Vitamins Antitrust Litig., No. 99-197, 1999

WL 1335318, at *5 (D.D.C. Nov. 23, 1999)). See also Hubbard v. Donahoe, ___ F.Supp.2d ___,

2013 WL 3943495, *2 (D.D.C. July 31, 2013) (same) (citing Vista Healthplan v. Warner

Holdings Co. III, 246 F.R.D. 349, 357 (D.D.C. 2007)). “The exercise of this discretion, however,

is constrained by the ‘principle of preference’ favoring and encouraging settlements in


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appropriate cases.” In re Vitamins Antitrust Litig., 305 F.Supp.2d 100, 103 (D.D.C. 2004)

(quoting Pigford v. Glickman, 185 F.R.D. 82, 103 (D.D.C. 1999)).

       A trial court has a duty under Fed. R. Civ. P. 23(e) to make sure that a proposed

settlement is “fair, adequate, and reasonable and not the product of collusion between the

parties.” In re Vitamins Antitrust Class Actions, 215 F.3d 26, 30 (D.C. Cir. 2000) (citations

omitted). Cf. United States ex rel. Schweizer v. Océ North Am., Inc., ___ F.Supp.2d ___, 2013

WL 3776260, *8 (D.D.C. July 19, 2013) (applying Rule 23’s “fair, reasonable, and adequate”

analysis to proposed False Claims Act settlement).

       Courts look to a number of factors in this analysis, including: “(1) whether the settlement

is the result of arm’s-length negotiations; (2) the terms of the settlement in relation to the

strength of Plaintiffs’ case; (3) the stage of the litigation proceedings at the time of settlement;

(4) the reaction of the class; and (5) the opinion of experienced counsel.” Hubbard, supra, at * 2

(quoting Vista Healthplan, 246 F.R.D. at 360); Schweizer, supra, at *8 (same) (quoting In re

LivingSocial Mktg. & Sales Practice Litig., 2013 WL 1181489, *7 (D.D.C. Mar. 22, 2013)).

       Generally, a court should grant preliminary approval of a class action settlement if it

appears to fall “within the range of possible approval” and “does not disclose grounds to doubt

its fairness or other obvious deficiencies, such as unduly preferential treatment of class

representatives or of segments of the class, or excessive compensation for attorneys.” Trombley

v. Nat’l City Bank, 759 F.Supp.2d 20, 23 (D.D.C. 2011) (quoting Newberg on Class Actions, §

11:25 (4th ed. 2010)).




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       A.       The Settlement Is The Result Of Arm’s Length Negotiations.

       A “presumption of fairness, adequacy, and reasonableness may attach to a class

settlement reached in arms’ length negotiations between experienced, capable counsel after

meaningful discovery.” In re Vitamins Antitrust Litig., 305 F. Supp. 2d at 104 (quoting Manual

for Complex Litig., at § 30.42).

       Here, the Settlement Agreement was executed after several months of extensive, often

contentious, negotiations among experienced counsel, all of whom have devoted considerable

time and effort to this litigation and settlement.1 Indeed, counsel for the parties engaged in years

of discovery and resolved—via summary judgment and a jury trial—the scope of the District’s

liability. Damages were the only unresolved aspect of the litigation at the time of settlement, and

were set to be resolved through an additional period of discovery and a jury trial.

       The parties were also greatly aided in their settlement negotiations by an independent

mediator, Ms. Nancy Lesser, Esq., who facilitated discussions between the parties and presided

over an all-day mediation session on July 10, 2013, which established the outlines of the parties’

agreement.

       Accordingly, this Court should apply a presumption that the settlement reached by the

parties is fair and reasonable. See Equal Rights Center v. Washington Metropolitan Area Transit

Authority, 573 F. Supp. 2d 205, 212 (D.D.C. 2008) (class action settlement presumed reasonable

where the parties engaged in six months of vigorous negotiations and the litigation was

contentious).



       1
               Plaintiffs’ counsel further represent that, consistent with controlling law and the
ethical standards promulgated by the District of Columbia Bar, no plaintiffs’ attorney has
requested or been offered any compensation, appointment, or benefit by defendants during
negotiations related to the settlement of this case other than the proposed attorneys’ fees and
costs outlined above, which are subject to court approval.
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         B.     The Terms Of Settlement Reflect The Strength Of The Parties’ Positions
                And The Risks Of Continued Litigation.

         “The most important factor in the Court’s evaluation of a proposed class action

settlement is how the relief secured by the settlement compares to the class members’ likely

recovery had the case gone to trial.” Blackman v. District of Columbia, 454 F. Supp. 2d 1, 9-10

(D.D.C. 2006). The benefits to the class members must be “considered in juxtaposition with the

risks attendant to continued litigation of this matter.” Schweizer, supra, at *12 (quoting In re

LivingSocial Mktg., 2013 WL 1181489, at *9). Here, the settlement should be approved because

both parties recognize the substantial risks of proceeding with the litigation, and the costs in

doing so. The parties have extensively analyzed the strengths and weaknesses of their respective

positions and the risks, time, and costs of continued litigation.

         The relief secured by the Settlement Agreement is considerable and there is a material

risk that continued litigation would result in a less favorable outcome for the class (i.e., reduced

amounts of damages or no damages at all) or the District (greater damages and/or uncertain

liabilities).

         The District has agreed, inter alia, to pay up to $6.2 million to resolve this case, with $2.9

million to directly compensate Class Member claims. These amounts include the costs of class

notice and administration, as well as the costs to hire a panel of three independent claims

reviewers. This amount is “within the range of possible approval,” Trombley, 759 F.Supp.2d at

23 of similar settlements. See Bynum v. District of Columbia, 412 F.Supp.2d 73 (D.D.C. 2006)

(approving $5 million class fund for approximately 4,000 claims of overdetentions and post-

release strip searches, plus additional amounts for attorneys’ fees and costs and dedicated jail

funds); Lopez v. Youngblood, 2011 WL 10483569 (E.D. Cal. Sept. 2, 2011) (approving class-

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action settlement for, inter alia, $1,500 per post-release strip search, plus $750 for any additional

post-release strip searches).

       The settlement is based on realistic estimates of the probable claim rate, which is

expected to be in the range of 10–20%; the Bynum claim rate fell in this range.

       The settlement eliminates the risks, costs, and delays of trials and appeals. The District

has raised several factual and legal defenses to the imposition of extensive damages in this case,

and it would be the plaintiffs’ burden to prove their damages. The benefits to the Class Members

are real and immediate upon final judgment, and involve the payment of cash. It is money that,

even in the event of an unusually high claim rate, will surely be welcomed.

       Plaintiffs recognize that continued litigation “entails substantial risks,” and that victory

“certainly cannot be assumed.” In re Lorazepam & Clorazepate Antitrust Litig., No. MDL 1290,

2003 WL 22037741, at *4 (D.D.C. June 16, 2003) (Hogan, J.); see also In re Ampicillin Antitrust

Litig., 82 F.R.D. 652, 654 (D.D.C. 1979). For instance, the case law governing strip searches

continues to be clarified. See, e.g., Powell v. Sheriff, Fulton County, 2013 WL 842646 (11th Cir.

Mar. 7, 2013) (the Constitution does not require that prisoners—even those returning from court

entitled to release—be segregated from the general population while their releases are being

processed).

       Notwithstanding this, the District faces unknown exposure for damages for illegal strip

searches. Individual strip searches in reported class-action lawsuit settlements or trials have a

broad range of values. See Tatum v. Morton, 562 F.2d 1279 (D.C. Cir. 1977) ($400); In re

Nassau County Strip Search Cases, 742, F.Supp.2d 304, 331 (E.D.N.Y. 2010) ($500); McBean v.

City of New York, 233 F.R.D. 37, 389 (S.D.N.Y. 2006) ($750); Doan v. Watson, 2002 WL

31730917 (S.D.Ind. Dec 4, 2002) ($1000). Cf. Trombley, 759 F.Supp.2d at 24–25 (“[T]he


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comparison of settlements in similar cases can be relevant when evaluating the fairness,

adequacy, and reasonableness of a proposed settlement.”).

       At the same time “[t]he significant reduction in the number of overdetentions as of

February 2008, alongside the District’s implementation in 2008 of measures that even plaintiffs

concede have ‘solved’ much of the overdetention problem” led the Court to find that the District

was not liable for overdetentions after February 25, 2008, as a matter of law. See Doc. No. 307,

at 28 (Jun. 24, 2011). Accordingly, the settlement guarantees a significant benefit to the class for

past damages that may not be available going forward.

       In sum, in light of the significant settlement benefits obtained for the class and the risk

that continued litigation would result in a less favorable outcome, the terms of the settlement are

fair and reasonable. See, e.g., Radosti v. Envision EMI, LLC, 717 F. Supp. 2d 37, 64 (D.D.C.

2010) (finding settlement fair in light of “the significant recovery that the settlement affords the

members of the settlement class, the difficulties faced by the plaintiffs in litigating this class

action, the inherent risks, costs, and time associated with continued litigation, and [defendant]’s

financial condition”); see also Thomas v. Albright, 139 F.3d at 231 (D.C. Cir. 1998) (“A

settlement necessitates compromise.”).

       A court should not withhold approval simply because the benefits accrued from a
       settlement agreement are not what a successful plaintiff might receive in a fully-
       litigated case. A settlement is a compromise which has been reached after the
       risks, expense, and delay of further litigation have been assessed. Class counsel
       and the class representatives may compromise their demand for relief in order to
       obtain substantial and assured relief for the class. A court should defer to the
       judgment of experienced counsel who have competently evaluated the strength of
       the proof.

Stewart v. Rubin, 948 F. Supp. 1077, 1087 (D.D.C. 1996)




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       C.      The Settlement Is Not Premature.

       Settlement should come at a time when counsel have “sufficient information to

adequately assess the risks of [continued] litigation.” In re Lorazepam, 2003 WL 22037741, at

*5; see also Meijer, Inc. v. Warner Chilcott Holdings Co. III, Ltd., 565 F. Supp. 2d 49, 57-58

(D.D.C. 2008). Here, given that this settlement was reached after more than seven (7) years of

vigorously contested litigation, this factor too plainly counsels in favor of approval.

       There has been more-than-sufficient factual development in this case to allow Class

Counsel to make a meaningful decision as to settlement. Following years of contentious

discovery and summary judgment briefing, the parties finally resolved the scope of the District’s

liability during a week-long jury trial in March, 2013, which itself involved weeks of intensive

preparation. Under these circumstances, there can be no doubt that counsel have sufficient

information adequately to assess the risks of continued litigation and the merits of the proposed

settlement. See In re Lorazepam, 2003 WL 22037741, at *5 (preliminary approval appropriate

where the parties had engaged in “substantial and vigorous litigation”).



       D.      Plaintiffs’ Counsel Believe That The Settlement Is Fair And Reasonable.

       The opinion of experienced counsel “should be afforded substantial consideration by a

court in evaluating the reasonableness of a proposed settlement.” In re Lorazepam, 2003 WL

22037741 at *6; see also Radosti, 717 F. Supp. 2d at 57. Counsel for the class have substantial

experience litigating prisoners’ rights cases, including the Bynum predecessor to this case. Class

Counsel are experienced in civil rights, criminal defense, consumer litigation, and class actions.

See Doc. No. 7-2 at 20–21; Doc. No. 7-27; Doc. No. 7-28. See also Bynum v. District of

Columbia, 384 F. Supp. 2d 342 (D.D.C. 2005). Counsel strongly believe and represent that,


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given the risks attendant to further litigation, the terms of the proposed settlement are fair and

reasonable and in the best interest of the class.2 See Equal Rights Center, 573 F. Supp. 2d at 213

(crediting opinion of counsel as to the fairness of the settlement given their over three years of

experience litigating the matter before the court).

       Class Counsel have based their approval of settlement on the risks of trial and appeal and,

even if they were to win at trial and on appeal, the delays in recovery that would result from

protracted litigation. The settlement is based upon a reasonably-anticipated claims rate; it

contains sufficient notice provisions; and it has a simple claims process.

       Thus, four of the five factors favor granting preliminary approval to this settlement.

Hubbard, supra, at * 2. As for the final factor—the reaction of the class—Class Counsel will

provide that information in advance of the Final Approval and Fairness Hearing.



II.    THE COURT SHOULD APPROVE THE PROPOSED FORM AND MANNER OF
       NOTICE TO THE CLASS.

       “The court must direct notice in a reasonable manner to all class members who would be

bound by the proposal.” Fed. R. Civ. P. 23(e)(1). Under that rule and the mandates of due

process, class members must be given “the best notice practicable under the circumstances,

including individual notice to all members who can be identified through reasonable effort.”

Hubbard, supra, at *5 (quoting Rule 23(c)(2)(B)). However, “[n]either Rule 23 nor the

requirements of due process require actual notice to each and every possible class member.” In

re Prudential Insurance Co. of America Sales Practices Litig., 177 F.R.D. 216, 233 (D.N.J.

1997); see also Pigford v. Veneman, 208 F.R.D. 21, 23 (D.D.C. 2002).



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                Further, in reaching the conclusion that the settlement is in the best interests of the
class, class counsel have regularly consulted with members of the class.
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       When all class members cannot be identified, other methods of providing notice—such as

publication in newspapers and periodicals—are deemed sufficient. See, e.g., In re Lorazepam,

2003 WL 22037741 at *5; Collins v. Pension Benefit Guar. Corp., 1996 WL 335346, *2 (D.D.C.

June 7, 1996). Here, the proposed notice program fully complies with these requirements and

provides the best notice practicable in the circumstances of this case.

       The parties also request that contingent on the execution of an acceptable contract and

subject to the availability of an appropriation, the Court direct the use of Gilardi & Co., LLC as

class administrators.



       A.      The Proposed Notice Is Reasonable And Tailored To The Needs Of Class
               Members.

       Class Counsel have carefully considered various options for providing reasonable notice

of the proposed settlement to class members. Counsel for the class believe that the proposed

notice clearly and concisely informs potential class members of the nature and scope of the

Agreement and of their rights to object and be heard. The proposed notice provides a clear

explanation of (i) the lawsuit, its history, and current procedural posture, (ii) how to determine if

one is a member of the classes, (iii) the reasons for settlement, (iv) the key provisions of the

Settlement Agreement, and (v) the procedure for making objections and being heard at a final

fairness hearing.

       Accordingly, the Court should approve the form of notice attached as Exhibit C to the

Settlement Agreement.




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       B.      The Manner Of Notice Is The Best Practicable Notice Under The
               Circumstances.

       The Court should also approve the notice plan set forth in the Settlement Agreement. In

formulating the notice plan, the parties have given considerable thought to the difficulties

involved in reaching many class members, and have developed a multi-faceted, comprehensive

notice plan in order to reach as many class members as possible. In addition to providing

individual notice to class members (and/or their legal representatives) where practicable, the

notice plan calls for publication notice, posting of the notice in corrections facilities, and posting

of settlement information on the Department of Corrections’ website. Accordingly, the Court

should approve the notice plan set forth in the Settlement Agreement as providing the best notice

practicable under the circumstances of this case.



                                             Conclusion

       Based on the above, the Parties respectfully request that this Honorable Court, for the

foregoing reasons, should grant the parties’ Joint Motion for Preliminary Approval, approve the

manner and form of notice to be furnished to the class, and schedule a Fairness Hearing under

Fed. R. Civ. P. 23(e)(1)(C) for the purpose of determining whether the settlement is fair,

reasonable, and adequate.



DATE: November 4, 2013                 Respectfully submitted,

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